    Case: 1:19-cr-00850 Document #: 37 Filed: 01/16/20 Page 1 of 3 PageID #:104




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 19 CR 850
              v.
                                              Judge Mary M. Rowland
SHELDON MORALES, et al.

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants= counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Counsel shall not disclose the materials or their contents directly or

indirectly to any person or entity other than persons employed to assist in the

defense, persons who are interviewed as potential witnesses, counsel for potential

witnesses, and other persons to whom the Court may authorize disclosure

(collectively, “authorized persons”). Potential witnesses and their counsel may be

shown copies of the materials as necessary to prepare the prosecution or defense, but

may not retain copies without prior permission of the Court.
    Case: 1:19-cr-00850 Document #: 37 Filed: 01/16/20 Page 2 of 3 PageID #:105




      3.     Defendants, defendants= counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants’ counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      4.     Defendants, defendants= counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      6.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      7.     To the extent any material is produced by the United States to

defendants or defendants= counsel by mistake, the United States shall have the right
    Case: 1:19-cr-00850 Document #: 37 Filed: 01/16/20 Page 3 of 3 PageID #:106




to request the return of the material and shall do so in writing. Within ten days of

the receipt of such a request, defendants and/or defendants’ counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      8.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case.

      9.     Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         MARY M. ROWLAND
                                         District Court Judge
                                         United States District Court
                                         Northern District of Illinois

Date: January 16, 2020
